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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------- x
J&J SPORTS PRODUCTIONS, INCORPORATED, :
                                                                 :
                                    Plaintiff,                   :
        -against-                                                :   ORDER
                                                                 :   18-CV-5088 (DLI) (SMG)
MAGALY BELLIARD, individually and d/b/a                          :
SANTIAGO RESTAURANT a/k/a THE NEW                                :
SANTIAGO RESTAURANT; and THE NEW                                 x
SANTIAGO RESTAURANT CORPORATION, an :
unknown business entity d/b/a SANTIAGO                           :
RESTAURANT a/k/a THE NEW SANTIAGO                                :
RESTAURANT,                                                      :
                                                                 :
                                    Defendants.                  :
                                                                 :
----------------------------------------------------------------
GOLD, STEVEN M., U.S. Magistrate Judge:

         On February 22, 2019, plaintiff filed a motion for default judgment against defendants

Magaly Belliard, individually and d/b/a Santiago Restaurant a/k/a The New Santiago Restaurant

and The New Santiago Restaurant Corporation, an unknown business entity d/b/a Santiago

Restaurant a/k/a The New Santiago Restaurant. Dkt. 9. By Order dated February 25, 2019, the

Honorable Dora L. Irizarry referred plaintiff’s motion to me to conduct an inquest, if necessary,

as to damages and legal fees and to issue a report and recommendation.

         Any submissions that defendants wish to make in response are due no later than March

15, 2019. Any reply plaintiff wishes to make, and any other submissions plaintiff wishes to

provide in support of its motion should be filed by March 22, 2019. Upon receipt of this Order,

plaintiff is hereby directed to serve a copy of this Order promptly by certified mail, return receipt

requested, on defendants at their last known addresses, and to provide the Court with copies of
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the return receipts.

                                                                    SO ORDERED.

                                                                           /s/
                                                                    Steven M. Gold
                                                                    United States Magistrate Judge
Brooklyn, New York
February 25, 2019
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